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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

Coastal Towing, L.L.C.                      §
                                            §
       Plaintiff                            §
                                            §         C.A. NO. 2:16-cv-13350-JCA-MBN
v.                                          §
                                            §
REC Marine Logistics, LLC and               §         JUDGE ZAINEY
A&A Boats, Inc.                             §
                                            §         MAGISTRATE JUDGE NORTH
       Defendants                           §

                                     Original Complaint

       Knox complains of Bisso Marine, LLC, REC Marine Logistics, LLC, A&A Boats,

Inc., and Coastal Towing, L.L.C. and would respectfully show the Court that:

                                                I.

                                         Jurisdiction

       1.     This action is within the admiralty and maritime jurisdiction of this Court

within the meaning of Federal Rule of Civil Procedure 9(h).

       2.     This claim is maintained under the Jones Act.

       3.     Venue is proper in this District because the parties against which Knox is

making claims do a substantial amount of their business in this District and because a

substantial portion of the events occurred in this Division and Knox resides in this District.

                                                II.

                                            Venue

       4.     Venue is proper in this District and Division because one or more of the

adverse parties is domiciled in this District and Division.        Moreover, the Declaratory

Judgment action was already filed in this Court.



                                                                Exhibit A
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                                               III.

                                             Parties

          5.      Knox is an American seaman and is a resident of Indiana.

          6.      Bisso Marine, LLC is a Texas company with substantial operations throughout

Louisiana. Bisso Marine, LLC may be served through its registered agent CT Corporation

System, 3867 Plaza Tower Drive, Baton Rouge, Louisiana 70816.

          7.      REC Marine Logistics, LLC is a Louisiana company that has already appeared

in this action.

          8.      A&A Boats, Inc. is a Louisiana company that has already appeared in this

action.

          9.      Coastal Towing, L.L.C. is a Louisiana/Mississippi company that has already

appeared in this action.

                                               IV.

                                      Nature of the Action

          10.     On or about July 18, 2014, Knox was employed by Coastal Towing, L.L.C.

aboard the M/V Trent Joseph, which was owned, operated and/or managed by Coastal

Towing, L.L.C. On this date, Knox fell ill causing management to call for a helicopter to

evacuate him.        This required that he transfer to the L/B Mighty Chief.       However,

management changed plans and decided to evacuate Knox from another vessel—the M/V

Miss Jane—which was owned, operated and/or controlled by REC Marine Logistics, LLC.

Management used a crane to transfer Knox via personnel basket. At the time, an employee

from Bisso Marine, LLC was operating the crane. During the transfer, the crane operator

slammed the personnel basket into the deck causing Knox to get ejected.           The crane
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operator’s negligence was compounded by REC Marine Logistics, LLC’s and/or A&A

Boats, Inc.’s failure to have someone man the tag lines to the personnel basket.

       11.    These events occurred while the M/V Trent Joseph was deployed on navigable

waters, and while Knox was contributing to and aiding such vessel to accomplish its mission.

Knox sustained serious injuries to his neck, back, hip, knee, other parts of his body due to the

previously described negligence and the unseaworthiness of the L/B Mighty Chief and M/V

Miss Jane.

       12.    The following parties are negligent for the following reasons:

              a.      Bisso Marine’s crane operator failed to operate the crane in a safe
                      manner;

              b.      Bisso Marine failed to properly train and supervise its crane operator;

              c.      REC Marine and A&A Boats failed to have personnel man tag lines to
                      the personnel basket;

              d.      REC Marine and A&A Boats failed to properly train and supervise its
                      employees in conducting personnel basket transfers;

              e.      REC Marine and A&A Boats failed to operate in a reasonably safe
                      manner;

              f.      All parties, excluding Knox, are liable for negligently supervising the
                      basket transfer;

              g.      REC Marine and/or A&A Boats are liable for failure to keep the
                      vessels in clear condition such that the helicopter could land without
                      the need to further transport Knox via basket transfer; and


       13.    The parties, excluding Knox, are all vicariously liable for their employees’

negligence.

       14.    At all relevant times, the vessels involved were unseaworthy, which renders

the parties, excluding Knox, liable.
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       15.     As a result of said occurrence, Knox suffered a severe injury to his neck, back,

hip, knee, and other parts of his body.

       16.     Knox sustained severe injuries to his body, which resulted in physical pain,

mental anguish, and other medical problems. Knox has sustained severe pain, physical

impairment, discomfort, mental anguish, and distress. In all reasonable probability, Knox’s

physical pain, physical impairment and mental anguish will continue indefinitely. Knox has

also suffered a loss of earnings in the past, as well as a loss of future earning capacity. Knox

has incurred and will incur pharmaceutical and medical expenses in connection with his

injuries. Further, as a seaman, Knox is entitled to maintenance and cure. Knox seeks any

and all unpaid maintenance and cure and any such unpaid maintenance and cure that may

accrue in the future.     Knox has been damaged in a sum far in excess of the minimum

jurisdictional limits of this Honorable Court, for which he now sues.

                                                 VII.

                                             Prayer

       Knox prays that this citation for Bisso issue and be served upon the parties in a form

and manner prescribed by law, requiring that the parties appear and answer, and that upon

final hearing, Knox has judgment against the parties in a total sum in excess of the minimum

jurisdictional limits of this Court including:

       a. Past and future medical damages;

       b. Past and future loss of earning capacity;

       c. Past and future pain and suffering and mental anguish;

       d. Past and future impairment;

       e. Past and future disfigurement;
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f. Past and future maintenance and cure;

g. Costs of court; and

h. All other and further relief to which Knox may be justly entitled.


                                           Respectfully submitted,

                                           PIERCE SKRABANEK BRUERA,
                                           PLLC

                                           /s/ M. Paul Skrabanek
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                                           /s/ Eric J. O’Bell
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